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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

 

 

In re: : Chapter 11
APP WINDDOWN, LLC, et al.,' ; Case No. 16-12551 (BLS)
Debtors. ; (Jointly Administered)

Ref. Docket No. 1446

 

FOURTH ORDER EXTENDING THE
DEBTORS' EXCLUSIVE PERIODS FOR THE FILING OF A
CHAPTER 11 PLAN AND THE SOLICITATION OF ACCEPTANCES THEREOF

 

This matter coming before the Court on the Debtors' Fourth Motion For An Order

Extending Their Exclusive Periods for the Filing of a Chapter 11 Plan and the Solicitation of

 

 

Acceptances Thereof (the "Motion"),” filed by the above-captioned debtors (the "Debtors"); the
Court having reviewed the Motion and having heard the statements of counsel regarding the
relief requested in the Motion at the hearing before the Court (the "Hearing"); the Court finding
that (i) the Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334; (ii) this
is a core proceeding pursuant to 28 U.S.C. § 157(b)(2); (iii) notice of the Motion and the Hearing
was sufficient under the circumstances; and (iv) cause, within the meaning of section 1121(d) of
the Bankruptcy Code, exists for the extension of the Exclusive Periods requested in the Motion;
and the Court having determined that the legal and factual bases set forth in the Motion and at

the Hearing establish just cause for the relief granted herein;

 

1 The Debtors are the following six entities (the last four digits of their respective taxpayer identification

numbers follow in parentheses): APP Winddown, LLC (f/k/a American Apparel, LLC) (0601); APP USA
Winddown, LLC (f/k/a American Apparel (USA), LLC) (8940); APP Retail Winddown, Inc. (f/k/a American
Apparel Retail, Inc.) (7829); APP D&F Winddown, Inc. (f/k/a American Apparel Dyeing & Finishing, Inc.) (0324);
APP Knitting Winddown, LLC (f/k/a KCL Knitting, LLC) (9518); and APP Shipping Winddown, Inc. (f/k/a Fresh
Air Freight, Inc.) (3870). The address of each of the Debtors is 107 Millcreek Corners, Suite B, P O Box 5129,
Brandon, MS 39047.

Capitalized terms not otherwise defined herein have the meanings ascribed to them in the Motion.

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IT IS HEREBY ORDERED THAT:

1, The Motion is GRANTED as set forth herein.

2. The Exclusive Filing Period is extended through and including May
14, 2018, pursuant to section 1121(d) of the Bankruptcy Code.

3. The Exclusive Solicitation Period is extended through and including July
14, 2018, pursuant to section 1121(d) of the Bankruptcy Code.

4. The terms and conditions of this Order shall be immediately effective and
enforceable upon its entry.

5. The Court retains jurisdiction with respect to all matters arising from or

related to the implementation or interpretation of this Order.

Dated: leat (G__,2018 Ry GH ACS Tort
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ilmingtoh} Delaware The Honorable Brendan L. Shannon
Chief United States Bankruptcy Judge

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